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                                  CIVIL MINUTE ENTRY



   BEFORE:               Magistrate Judge Steven L. Tiscione

                         February 9, 2021
   DATE:

                         3:00 P.M.
   TIME:

   DOCKET                CV-20-2638 (JS)
   NUMBER(S):
   NAME OF              Hall v. Hofstra University
   CASE(S):

   FOR                   Kaplan
   PLAINTIFF(S):
   FOR                   Harshbarger
   DEFENDANT(S):

   NEXT           See rulings below
   CONFERENCE(S):

   FTR/COURT     N/A
   REPORTER:
   RULINGS FROM Settlement Conference                   :
  Settlement discussions were held but the parties were unable to reach a disposition at this
  time. Parties will advise the Court when a further settlement conference would be
  productive.
